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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                  Case No. 1:13-cr-00205
                                    )
v.                                  )                  Honorable Janet T. Neff
                                    )
MICHAEL DUVALL DAVIS, JR. ,         )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on May 1, 2014, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Michael Duvall Davis, Jr. entered a plea of guilty to Count 7 of the Indictment

in exchange for the undertakings made by the government in the written plea agreement. In Count

7, defendant is charged with distribution of 28 grams or more of cocaine base (crack cocaine) in

violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B)(iii) and 18 U.S.C. § 2. On the basis of the record

made at the hearing, I find that defendant is fully capable and competent to enter an informed plea;

that the plea is made knowingly and with full understanding of each of the rights waived by

defendant; that it is made voluntarily and free from any force, threats, or promises, apart from the

promises in the plea agreement; that the defendant understands the nature of the charge and penalties

provided by law; and that the plea has a sufficient basis in fact.
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               I therefore recommend that defendant's plea of guilty to Count 7 be accepted, that the

court adjudicate defendant guilty, and that the written plea agreement be considered for acceptance

at the time of sentencing. Acceptance of the plea, adjudication of guilt, acceptance of the plea

agreement, and imposition of sentence are specifically reserved for the district judge.



Date: May 5, 2014                                      /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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